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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re                                                        Chapter 11

JOE’S PLACE OF THE BRONX, NY, INC.,                          Case No. 17-11542-mg

                                    Debtor.
--------------------------------------------------------X

   ORDER APPROVING DISCLOSURE STATEMENT, FIXING TIME FOR FILING
  ACCEPTANCES OR REJECTIONS OF THE PLAN, FIXING TIME FOR HEARING
    ON CONFIRMATION OF THE PLAN, AND GRANTING RELATED RELIEF

        This matter having been brought before the Court by Joe’s Place of the Bronx, Inc. (the

“Debtor”), through counsel, Ortiz & Ortiz, L.L.P., and upon the filing of the Debtor’s Fifth

Amended Plan of Reorganization dated February 14, 2020 (the “Plan”) and the Third Amended

Disclosure Statement dated February 14, 2020 (the “Disclosure Statement”); and it appearing

that due notice of the Debtor’s Motion to Approve the Adequacy of Information Contained in the

Disclosure Statement (the “Motion”) having been provided to all creditors and parties in interest;

and no objections having been filed to the Motion and the approval of the Disclosure Statement;

and it having been determined by the Court after a hearing held on January 28, 2020, that with

the proposed modifications to the Disclosure Statement and Plan, as modified, the Disclosure

Statement contains adequate information as required by 11 U.S.C. § 1125; accordingly, it

is hereby

        ORDERED that the Third Amended Disclosure Statement dated February 14, 2020, is

approved as containing adequate information within the meaning of section 1125 of the

Bankruptcy Code; and it is further

        ORDERED, that the Debtor is directed to transmit a copy of the Plan, the Disclosure

Statement, an appropriate ballot conforming to the official form or Notification of the
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Non-Voting Status, and a copy of this Order to all holders of claims not later than February 20,

2020; and it is further

        ORDERED, that, pursuant to Bankruptcy Rule 9006(c), to be counted for voting

purposes, all ballots of holders of claims in impaired classes must be completed and delivered to

the Debtor’s counsel Ortiz & Ortiz LLP, 32-72 Steinway Street, Ste. 402, Astoria, New York

11103, so as to be actually received no later than March 19, 2020 at 5:00 p.m. (the

“Voting Deadline”); and it is further

        ORDERED, that in addition to having to be received by the Voting Deadline as

provided above, to be counted a ballot must be signed and indicate either an acceptance or a

rejection of the Plan and otherwise must be completed as provided in the instructions

accompanying the ballot; and it is further

        ORDERED, that the following types of Ballots shall not be counted in determining

whether the Plan has been accepted or rejected: (i) any Ballot received after the Voting Deadline

unless the Debtors shall have granted, in writing, an extension of the Voting Deadline with

respect to such Ballot, (ii) any Ballot that is illegible or contains insufficient information to

permit the identification of the holder of the Claim, (iii) any Ballot cast by a person or entity that

does not hold a Claim in a Class that is entitled to vote to accept or reject the Plan, (iv) any

Ballot cast for a Claim identified in the Schedules as unliquidated, contingent, or disputed for

which no proof of Claim was timely filed, and (v) any Ballot that is unsigned or without an

original signature; and it is further

        ORDERED, that March 19, 2020 is fixed as the last date by which written objections to

the confirmation of the Plan must be filed with the Court and received by Ortiz & Ortiz LLP, 32-

72 Steinway Street, Ste. 402, Astoria, New York 11103; and it is further
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       ORDERED, that the hearing on confirmation of the Debtor’s Plan shall commence before

the Honorable Martin Glenn on March 26, 2020 at 10:00 a.m., at the United States Bankruptcy

Court, One Bowling Green, New York, New York 10004; and it is further

       ORDERED, that the Debtor is authorized to make non-substantive and nonmaterial

changes to the Disclosure Statement, the Plan, and related documents without further order of the

Court, including, without limitation, changes to correct typographical and grammatical errors and

to make conforming changes among such documents.



IT IS SO ORDERED.
Dated: February 18, 2020
       New York, New York

                                            _____/s/ Martin Glenn_______
                                                   MARTIN GLENN
                                            United States Bankruptcy Judge
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                                  EXHIBIT A
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ORTIZ & ORTIZ, L.L.P.                                       Hearing Date and Time:
32-72 Steinway Street                                       March 26, 2020 at 10:00 a.m.
Astoria, New York 11103
Norma E. Ortiz                                              Deadline to:
Maria Perez-Brown                                           1. Object to the Confirmation of
Tel. (718) 522-1117                                         the Plan: March 19, 2020
Fax (718) 596-1302
email@ortizandortiz.com                                     2. Deliver Completed Ballots:
Attorneys for the Debtor                                    March 19, 2020


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re                                                       Chapter 11

JOE’S PLACE OF THE BRONX, NY, INC.,                         Case No. 17-11542-mg

                                    Debtor.
--------------------------------------------------------X


NOTICE OF DEADLINES AND HEARING ON CONFIRMATION OF THE DEBTOR’S
                     PLAN OF REORGANIZATION

        PLEASE TAKE NOTICE, that on February 18, 2020, the Court entered the enclosed

Order Approving the Debtor’s Disclosure Statement, Fixing Time for Filing Acceptances or

Rejections of the Plan, Fixing the Time for Filing Objections to the Confirmation of the Plan,

and Setting a Hearing on Confirmation of the Plan (hereinafter, the “Order”); and

        PLEASE TAKE FURTHER NOTICE THAT, as set forth in the Order, the last day for

filing and serving written objections to confirmation of the Plan is March 19, 2020. Any such

objection must be made in writing and shall state with particularity the grounds therefor, and

shall be filed with the Clerk of the Bankruptcy Court by electronic means (with a copy to

Chambers), and served upon and received by, Norma E. Ortiz, Esq., Ortiz & Ortiz, L.L.P.,32-72

Steinway Street, Ste. 402, Astoria, New York 11103, and the United States Trustee’s Office, 201
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Varick Street, Suite 1006, New York, New York 10014, so as to be actually received no later

than the date set forth herein; and

       PLEASE TAKE FURTHER NOTICE THAT, as set forth in the Order, the last day for

delivering written acceptances or rejections of the Plan is March 19, 2020. Any such written

acceptances or rejections must be delivered so as to be received by Norma E. Ortiz, Esq., Ortiz &

Ortiz, L.L.P., 32-72 Steinway Street, Ste. 402, Astoria, New York 11103, no later than 5:00 p.m.

on March 19, 2020, and also must conform to the ballot enclosed; and

       PLEASE TAKE FURTHER NOTICE THAT, as set forth in the Order, on March 26,

2020, at 10:00 a.m., or as soon thereafter as counsel may be heard, a hearing will be held for

confirmation of the Plan before the Martin Glenn, United States Bankruptcy Court for the

Southern District of New York, One Bowling Green, New York, New York 11201.

Dated: _________, 2020
       Astoria, New York
                                                         /s/Norma E. Ortiz
                                                     Norma E. Ortiz
                                                     Ortiz & Ortiz, L.L.P.
                                                     32-72 Steinway Street, Ste. 402
                                                     Astoria, New York 11103
                                                     Tel. (718) 522-1117
                                                     Debtor’s Counsel
